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                                                                       EXHIBIT A
 VIRGINIA:
                       IN THE CIRCUIT COURT OF SHENANDOAH COUNTY

 TIMOFEY KOROTKIKH
 6317 Greenfield Drive,
 Spartanburg, SC 29303

                  Plaintiff,

                  V.                                           Civil Case No. CL /)-;;;J - I   l/5
 GHEORGHE CEBOTARI
 250 174th Street, Apt. 402
 Sunny Isles Beach, FL 33160
                and
 MARIANA POTLOG
 8880 Pearsal1 Drive,
 Huntley, IL. 60142
                  and
DART TRANSPORTATION, INC.
8880 Pearsall Drive,
Huntley, IL 60142

                  Defendants.

                                          COMPLAINT



and hereby moves this Honorable Court for judgment against the above-named Defendants,

Gheorghe Cebotari, Mariana Potlog, and Dart Transportation, Inc., jointly and severally, on the

grounds and in the amount hereinafter set forth:

1.      The Plaintiff, Timofey Korotkikh, is, and was at all times herein mentioned, an adult

resident of South Carolina, residing at 6317 Greenfield Drive, South Carolina 29303.

2.     Defendant Dart Transportation, Inc. is a corporation or other business entity, organized

and existing under the laws of Illinois, with an office located at 8880 Pearsall Drive, Huntley,

Illinois 60142.
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 3.      Defendant Mariana Potlog is, and was at all times herein mentioned, an adult resident of

 Illinois, residing therein at 8880 Pearsall Drive, Huntley, Illinois 60142.

 4.      Defendant Dart Transportation, Inc. and Defendant Mariana Potlog may hereinafter be

 referred to, individually and collectively, as the "Dart Defendants" in this Complaint.

 5.      Defendant Gheorghe Cebotari is, and was at all times herein mentioned, an adult resident

 of Florida, residing at 250 174th Street, Apt. 402, Sunny Isles Beach, FL 33160.

 6.      Upon information and belief, at all times material herein, Defendant Cebotari was an

 employee/agent of Dart Defendants.

 7.     Upon information and belief, at all times material herein, Dart Defendants were involved

 in the employment of commercial truck drivers to drive their trucks across the country, including

the Commonwealth of Virginia, with the US DOT# 02567236.

8.      On February 15, 2020, Defendant Cebot.ari was employed by Dart Defendants to operate

their tractor-trailer within the Commonwealth of Virginia and upon Virginia's roadways.

9.      On February 15, 2020, at approximately 10:00 a.m., Plaintiff Timofey Korotkikh owned

and operated a tractor•trailer traveling northbound on I-81, at or near mile maker 280.40, in

Shenandoah County, Virginia.

10.     At the same time, Defendant Cebotari was operating a tractor-trailer owned by Dart

Defendants and traveling northbound on 1-81, directly behind Plaintiff.

11.     At said time and place, Defendant Cebotari operated Dart Defendants' tractor-trailer with

the express permission and consent of Dart Defendants, and was acting as the agent, servant,

and/or employee of Dart Defendants.

12.     At said time and place, Defendant Cebotari was operating Dart Defendants' tractor-trailer

within the scope of his employment with Dart Defendants.



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13.      At the time of the accident, Plaintiff had slowed his tractor-trailer to a stop in the right

northbound traffic lane on 1-81 as there was traffic in front of him.

14.      Upon information and belief, at the time of the accident, while Plaintiff was stopped for

traffic, Defendant Cebotari negligently and carelessly violently rear-ended Plaintiffs vehicle,

causing Plaintiffs severe injuries and damages.

15.      Plaintiffs significant injuries and damages were due entirely to the negligence of

Defendants and were caused in no part by any actions and/or omissions of Plaintiff.

16.      As a direct and proximate result of the negligence of Defendants, Plaintiff suffered the

following injuries and damages:

            a. Severe, traumatic, and catastrophic physical injuries, including but not limited to

                left rotator cuff tear which required surgical intervention in the form of a left

                shoulder arthroscopy and decompression and left arthroscopic rotator cuff tear

                with repair of the supraspinatus; intrasubstance tear of the distal posterior

                supraspinatus/anterior in.fraspinatus; tear of the long head of the biceps; tear of the

               posterior supenor and posterior labrum; paresthesia of the right ann; strain of the

               lumbar paraspinal muscle; lumbar radiculopathy; bilateral foraminal stenosis at

               L3-L4 and L4-L5; spinal stenosis at L2-L3 and L3-L4; C3-C4 disc osteophyte

               complex with left facet arthropathy; C4-C5 disc osteophyte complex with facet

               arthropathy; C5-C6 disc osteophyte complex with borderline central canal

               stenosis; pain to the neck, right hand. left arm, lower back, left buttock, left thigh,

               left knee, and other injuries, the full extent of which are not yet known, some or

               all of which may be permanent in nature;




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               b. Scarring and disfigurement from the surgical procedure for the injuries described

                  above;

              c. Loss of earnings and loss of earning capacity, past and future;

              d. Great pain, suffering, and loss of life's pleasures, past, present and future; and

              e. Hospital , medical and rehabilitation expenses, past and future.

                                   COUNT ONE - NEGLIGENCE

                                     As Against Defendant Cebotari

17.       Plaintiff adopts and incorporates verbatim the facts and allegations contained within each

and every one of the preceding paragraphs with the same force and affect as if fully set forth

herein.

18.       At the time of the February 15, 2020 motor-vehicle collision, Defendant Cebotari owed

Plaintiff a duty to operate Dart Defendants' tractor trailer with reasonable care under the

circumstances, and with due regard for others on and/or using the roadway, to include Plaintiff.

19.       Notwithstanding that duty, Defendant Cebotari was negligent and careless of the

operation of Dart Defendants' tractor-trai1er. Due to such negligent and careless operation,

Defendant Cebotari caused a violent rear-end collision with Plaintiff's motor-vehicle.

20.       The aforementioned negligence, carelessness, and inattentiveness of Defendant Cebotari

consisted of the following acts and/or omission:

             a. Failing to properly operate and control the tractor-trai1er under the circumstances;

             b. Failing to keep a proper, reasonable, and adequate look out for other vehicles on

                 the roadway, particularly that of Plaintiff;

             c. Driving at an excessive and unsafe rate of speed under the circumstances;




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      d. Operating the tractor-trailer in a careless, negligent, and inattentive manner

            without due regard for the safety of those lawfully upon the highway, one of

            whom was Plaintiff;

      e. Violation of the laws of the Commonwealth of Virginia and applicable local

            ordinances pertaining to the operation of a motor vehicle;

      f.    Negligent operation of a motor vehicle without due regard to the rights and safety

            of Plaintiff;

      g. Driving the tractor-trailer while fatigued and/or in excess of the hours permitted

           under the Federal Motor Carrier Safety Regulations set forth in 49 CFR §392, et.

           seq.;

     h. Driving while too fatigued to operate a tractor-trailer safely;

     1.    Failing to drive defensively;

     J.    Failure to drive at a speed and in a manner that would allow him to properly and

           safely stop;

     a. Failing to operate the tractor-trailer in a manner consistent with traffic,

           congestion, and traffic patterns;

     b. Failure to operate the tractor-trailer in a manner consistent with the prevailing

           weather and/or lighting conditions;

     c. Negligently failing to stop or reduce the speed of the tractor-trailer prior to hitting

           PlaintiWs vehicle;

     d. Negligently failing to move the truck away from the area where Plaintiff's vehicle

           was stopped to avoid a collision and/or lessen its severity;

     e. Operating the subject tractor-trailer while distracted;



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                f. Failing to use due care; and

               g. Increasing the risk of harm due to his negligent conduct described above and

                   herein.

              COUNT TWO · RESPONDEAT SUPERJORNICARIOUS LIABILITY

                                      As Against Dart Defendants

 21.       Plaintiff adopts and incorporates verbatim the facts and allegations contained within each

 and every one of the preceding paragraphs with the same force and affect as if fully set forth

 herein.

 22.       At the time of the February 15, 2020 motor.vehicle collision, Dart Defendants maintained

 an employer•employee relationship with Defendant Cebotari.

 23.       At the time of the February 15, 2020 motor-vehicle collision, Defendant Cebotari was

conducting Dart Defendants' business, and Defendant Cebotari was acting within the scope of

his employment with Dart Defendants.

24.        At the time of the February 15, 2020 motor-vehicle collision, Defendant Cebotari's

actions were expressly or impliedly directed by Dart Defendants, and were performed with the

intent to further the Dart Defendants' interests.

25.        Dart Defendants are liable for the negligence of its employee, Defendant Cebotari.

          WHEREFORE, PlaintiffTimofey Korotkikh respectfully moves this Honorable Court

for judgment against Defendants, jointly and severally, in the amount of $1 ,000,000.00 (one

million dollars), plus all taxable costs, pre-judgment interest beginning from the date of the

subject incident, post-judgment interest, and for such other and further relief as the Court and

jury deem just and appropriate.




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                                                      Timofey Korotkikh,
                                                      By Counsel.


Respectfully submitted,


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